     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                   Page 1 of 9 PageID 1



BARSHAY SANDERS, PLLC
100 Garden City Plaza, Suite 500
Garden City, New York 11530
Tel: (516) 203-7600
Fax: (516) 706-5055
Email: ConsumerRights@BarshaySanders.com
Attorneys for Plaintiff
Our File No.: 118503

                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



 Ahmad Saad, individually and on behalf of all others
 similarly situated,                                             Docket No:

                                          Plaintiff,             CLASS ACTION COMPLAINT

                              vs.
                                                                 JURY TRIAL DEMANDED
 Radius Global Solutions, LLC,

                                          Defendant.


       Ahmad Saad, individually and on behalf of all others similarly situated (hereinafter referred
to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges against
Radius Global Solutions, LLC (hereinafter referred to as “Defendant”), as follows:


                                        INTRODUCTION
       1.      This action seeks to recover for violations of the Fair Debt Collection Practices Act,
15 U.S.C. § 1692, et seq. (the “FDCPA”).


                                 JURISDICTION AND VENUE
       2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
15 U.S.C. § 1692k(d).
       3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events
or omissions giving rise to the claim occurred in this Judicial District.


                                                  1
     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                    Page 2 of 9 PageID 2



          4.    At all relevant times, Defendant conducted business within the State of Texas.


                                               PARTIES
          5.    Plaintiff Ahmad Saad is an individual who is a citizen of the State of Texas residing
in Tarrant County, Texas.
          6.    Plaintiff is a natural person allegedly obligated to pay a debt.
          7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
          8.    On information and belief, Defendant Radius Global Solutions, LLC, is a
Minnesota Limited Liability Company with a principal place of business in Hennepin County,
Minnesota.
          9.    Defendant regularly collects or attempts to collect debts asserted to be owed to
others.
          10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed
by consumers.
          11.   The principal purpose of Defendant's business is the collection of such debts.
          12.   Defendant uses the mails in its debt collection business.
          13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).


                         ALLEGATIONS SPECIFIC TO PLAINTIFF
          14.   Defendant alleges Plaintiff owes a debt (“the alleged Debt”).
          15.   The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of a
transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.
          16.   The alleged Debt does not arise from any business enterprise of Plaintiff.
          17.   The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
          18.   At an exact time known only to Defendant, the alleged Debt was assigned or
otherwise transferred to Defendant for collection.
          19.   At the time the alleged Debt was assigned or otherwise transferred to Defendant for
collection, the alleged Debt was in default.
          20.   In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by letter (“the
Letter”) dated September 23, 2019. (A true and accurate copy is annexed hereto as “Exhibit 1.”)



                                                   2
     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                   Page 3 of 9 PageID 3



       21.     The Letter conveyed information regarding the alleged Debt.
       22.     The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
       23.     The Letter was the initial written communication Plaintiff received from Defendant
concerning the alleged Debt.
       24.     The Letter was received and read by Plaintiff.
       25.     15 U.S.C. § 1692g protects Plaintiff's concrete interests. Plaintiff has the interest
and right to receive a clear, accurate and unambiguous validation notice, which allows a consumer
to confirm that he or she owes the debt sought to be collected by the debt collector. As set forth
herein, Defendant deprived Plaintiff of this right.
       26.     15 U.S.C. § 1692e protects Plaintiff's concrete interests. Plaintiff has the interest
and right to be free from deceptive and/or misleading communications from Defendant. As set
forth herein, Defendant deprived Plaintiff of this right.
       27.     15 U.S.C. § 1692g provides that within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt collector shall, unless the
information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing certain enumerated information.
       28.     15 U.S.C. § 1692g(a)(3) provides that the written notice must contain a statement
that unless the consumer, within thirty days after receipt of the notice, disputes the validity of the
debt, or any portion thereof, the debt will be assumed to be valid by the debt collector.
       29.     15 U.S.C. § 1692g(a)(4) provides that the written notice must contain a statement
that if the consumer notifies the debt collector in writing within the thirty-day period that the debt,
or any portion thereof, is disputed, the debt collector will obtain verification of the debt or a copy
of a judgment against the consumer and a copy of such verification or judgment will be mailed to
the consumer by the debt collector.
       30.     In order to be entitled to obtain verification of the debt or a copy of a judgment
against the consumer, the consumer must dispute the debt in writing.
       31.     15 U.S.C. § 1692g(a)(5) provides that the written notice must contain a statement
that, upon the consumer's written request within the thirty-day period, the debt collector will
provide the consumer with the name and address of the original creditor, if different from the
current creditor.




                                                  3
     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                  Page 4 of 9 PageID 4



       32.     In order to be entitled to obtain the name and address of the original creditor, if
different from the current creditor, the consumer must request such in writing.
       33.     A debt collector has the obligation not just to convey the 15 U.S.C. § 1692g
required disclosures, but also to convey such clearly.
       34.     Even if a debt collector conveys the required information accurately, the debt
collector nonetheless violates the FDCPA if that information is overshadowed or contradicted by
other language in the communication.
       35.     Even if a debt collector conveys the required information accurately, the debt
collector nonetheless violates the FDCPA if that information is overshadowed by other collection
activities during the 30-day validation period following the communication.
       36.     15 U.S.C. § 1692g(b) provides that collection activities and communication during
the 30-day period may not overshadow or be inconsistent with the disclosure of the consumer's
right to dispute the debt or request the name and address of the original creditor.
       37.     A collection activity or communication overshadows or contradicts the validation
notice if it would make the least sophisticated consumer uncertain or confused as to her rights.
       38.     The Letter contains multiple addresses for Defendant.
       39.     The first address, located in the coupon, is: 9550 Regency Square Blvd Suite 500A
Jacksonville, FL 32225.
       40.     The second address, located in the coupon, is: PO BOX 15118 Jacksonville, FL
32239-5118.
       41.     In order to be entitled to obtain verification of the debt or a copy of a judgment
against the consumer pursuant to 15 U.S.C. § 1692g(a)(4), the consumer must dispute the debt in
writing.
       42.     The Letter fails to instruct the consumer to which of the multiple addresses provided
written disputes must be sent.
       43.     As a result of the foregoing, the least sophisticated consumer would likely be
confused as to which of the multiple addresses she should send her written dispute.
       44.     As a result of the foregoing, the least sophisticated consumer would likely be
uncertain as to which of the multiple addresses she should send her written dispute.
       45.     Without clear direction as to where to mail her written dispute, the least
sophisticated consumer would likely not dispute the debt at all.



                                                 4
     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                  Page 5 of 9 PageID 5



        46.     Without clear direction as to where to mail her written dispute, the least
sophisticated consumer would likely not dispute the debt at all because she would be frightened of
calling the collection agency where highly trained and aggressive debt collectors answer calls.
        47.     As a result of the foregoing, the Letter would likely discourage the least
sophisticated consumer from exercising her right to dispute the debt.
        48.     In order to be entitled to obtain the name and address of the original creditor
pursuant to 15 U.S.C. § 1692g(a)(5), the consumer must request such in writing.
        49.     The Letter fails to instruct the consumer to which of the multiple addresses provided
requests for the name of the original creditor must be sent.
        50.     As a result of the foregoing, the least sophisticated consumer would likely be
confused as to which of the multiple addresses she should send her request for the name of the
original creditor.
        51.     As a result of the foregoing, the least sophisticated consumer would likely be
uncertain as to which of the multiple addresses she should send her request for the name of the
original creditor.
        52.     Without clear direction as to where to mail her request for the name of the original
creditor, the least sophisticated consumer would likely not request this information at all.
        53.     Without clear direction as to where to mail her request for the name of the original
creditor, the least sophisticated consumer would likely not request this information at all because
she would be frightened of calling the collection agency where highly trained and aggressive debt
collectors answer calls.
        54.     As a result of the foregoing, the Letter would likely discourage the least
sophisticated consumer from exercising her right to request for the name of the original creditor.
        55.     As a result of the foregoing, the multiple addresses would likely make the least
sophisticated consumer confused as to her rights.
        56.     As a result of the foregoing, the multiple addresses would likely make the least
sophisticated consumer uncertain as to her rights.
        57.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses overshadow the
disclosure of the consumer's right to dispute the debt provided by 15 U.S.C. § 1692g(a)(3).




                                                  5
     Case 4:20-cv-00208-O Document 1 Filed 03/05/20                    Page 6 of 9 PageID 6



         58.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses overshadow the
disclosure of the consumer's right to receive verification of the debt or a copy of a judgment against
the consumer provided by 15 U.S.C. § 1692g(a)(4).
         59.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses overshadow the
disclosure of the consumer's right to request the name and address of the original creditor provided
by 15 U.S.C. § 1692g(a)(5).
         60.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses are inconsistent
with the disclosure of the consumer's right to dispute the alleged Debt provided by 15 U.S.C. §
1692g(a)(3).
         61.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses are inconsistent
with the disclosure of the consumer's right to receive verification of the debt or a copy of a
judgment against the consumer provided by 15 U.S.C. § 1692g(a)(4).
         62.     Defendant violated 15 U.S.C. § 1692g(b) as the multiple addresses are inconsistent
with the disclosure of the consumer's right to request the name and address of the original creditor
provided by 15 U.S.C. § 1692g(a)(5).
         63.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
misleading representation or means in connection with the collection of any debt.
         64.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
         65.     A debt collection practice can be a “false, deceptive, or misleading” practice in
violation of 15 U.S.C. § 1692e even if it does not fall within any of the subsections of 15 U.S.C. §
1692e.
         66.     A collection letter violates 15 U.S.C. § 1692e if, in the eyes of the least
sophisticated consumer, it is open to more than one reasonable interpretation, at least one of which
is inaccurate.
         67.     A collection letter also violates 15 U.S.C. § 1692e if it is reasonably susceptible to
an inaccurate reading by the least sophisticated consumer.
         68.     The least sophisticated consumer could read the Letter and be reasonably confused
as to which of the multiple addresses provided she must send her written dispute.
         69.     The least sophisticated consumer could read the Letter and be uncertain as to which
of the multiple addresses provided she must send her written dispute.



                                                   6
      Case 4:20-cv-00208-O Document 1 Filed 03/05/20                  Page 7 of 9 PageID 7



        70.     The least sophisticated consumer could reasonably interpret the Letter to mean that
she could send her written dispute to any of the multiple addresses provided.
        71.     As a result of the foregoing, the Letter, in the eyes of the least sophisticated
consumer, it is open to more than one reasonable interpretation concerning where the consumer
must send her written dispute, at least one of which is inaccurate.
        72.     As a result of the foregoing, the Letter is reasonably susceptible to an inaccurate
reading by the least sophisticated consumer as to where the consumer must send her written
dispute.
        73.     Because the Letter is open to more than one reasonable interpretation in this regard,
it violates 15 U.S.C. §§ 1692e and 1692e(10).
        74.     The least sophisticated consumer could read the Letter and be reasonably confused
as to which of the multiple addresses provided she must send her request for the name and address
of the original creditor.
        75.     The least sophisticated consumer could read the Letter and be uncertain as to which
of the multiple addresses provided she must send her request for the name and address of the
original creditor.
        76.     The least sophisticated consumer could reasonably interpret the Letter to mean that
she could send her request for the name and address of the original creditor to any of the multiple
addresses provided.
        77.     As a result of the foregoing, the Letter, in the eyes of the least sophisticated
consumer, is open to more than one reasonable interpretation concerning where the consumer must
send her send her request for the name and address of the original creditor.
        78.     As a result of the foregoing, the Letter is reasonably susceptible to an inaccurate
reading by the least sophisticated consumer as to where the consumer must send her request for
the name and address of the original creditor.
        79.     Because the Letter is open to more than one reasonable interpretation in this regard,
it violates 15 U.S.C. §§ 1692e and 1692e(10).
        80.     For all of the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692g(b), 1692e
and 1692e(10) and is liable to Plaintiff therefor.




                                                     7
        Case 4:20-cv-00208-O Document 1 Filed 03/05/20                 Page 8 of 9 PageID 8



                                      CLASS ALLEGATIONS
         81.    Plaintiff brings this action individually and as a class action on behalf of all persons
similarly situated in the State of Texas.
         82.    Plaintiff seeks to certify a class of:
                     All consumers to whom Defendant sent a collection letter substantially
                     and materially similar to the Letter sent to Plaintiff, which letter was
                     sent on or after a date one year prior to the filing of this action to the
                     present.

         83.    This action seeks a finding that Defendant's conduct violates the FDCPA, and asks
that the Court award damages as authorized by 15 U.S.C. § 1692k.
         84.    The Class consists of more than thirty-five persons.
         85.    Plaintiff's claims are typical of the claims of the Class. Common questions of law
or fact raised by this action affect all members of the Class and predominate over any individual
issues. Common relief is therefore sought on behalf of all members of the Class. A class action is
superior to other available methods for the fair and efficient adjudication of this controversy.
         86.    The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to the individual members of the
Class, and a risk that any adjudications with respect to individual members of the Class would, as
a practical matter, either be dispositive of the interests of other members of the Class not party to
the adjudication, or substantially impair or impede their ability to protect their interests. Defendant
has acted in a manner applicable to the Class as a whole such that declaratory relief is warranted.
         87.    Plaintiff will fairly and adequately protect and represent the interests of the Class.
The management of the class is not extraordinarily difficult, and the factual and legal issues raised
by this action will not require extended contact with the members of the Class, because Defendant's
conduct was perpetrated on all members of the Class and will be established by common proof.
Moreover, Plaintiff has retained counsel experienced in actions brought under consumer protection
laws.


                                            JURY DEMAND
         88.    Plaintiff hereby demands a trial of this action by jury.




                                                    8
    Case 4:20-cv-00208-O Document 1 Filed 03/05/20                 Page 9 of 9 PageID 9



                                 PRAYER FOR RELIEF
      WHEREFORE Plaintiff respectfully requests judgment be entered:
                a. Certifying this action as a class action; and

                b. Appointing Plaintiff as Class Representative and Plaintiff's attorneys as
                Class Counsel;

                c. Finding Defendant's actions violate the FDCPA; and

                d. Granting damages against Defendant pursuant to 15 U.S.C. § 1692k; and

                e. Granting Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                f. Granting Plaintiff's costs; all together with

                g. Such other relief that the Court determines is just and proper.

DATED: March 2, 2020
                                           BARSHAY SANDERS, PLLC

                                           By: _/s/ Craig B. Sanders
                                           Craig B. Sanders, Esquire
                                           100 Garden City Plaza, Suite 500
                                           Garden City, New York 11530
                                           Tel: (516) 203-7600
                                           Fax: (516) 706-5055
                                           csanders@barshaysanders.com
                                           Attorneys for Plaintiff
                                           Our File No.: 118503




                                              9
